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                       Exhibit 5
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EJS:JMS                                                               Telephone:
                                                                      (202) 514-5838

                                                                      June 1, 2022

VIA ELECTRONIC AND U.S. MAIL

Peter K. Navarro
801 Pennsylvania Ave., NW
Unit 102 l
Washington, D.C. 20004
pknavarro@protonmail.com

Dear Mr. Navarro:

        Since detennining that you conducted official government business as an advisor to
President Trump using a private email account, the National Archives and Records Administration
(NARA) has repeatedly requested that you provide all electronic mail messages related to your
official duties that you created or received using a private email account. To date, you have
declined to provide the records.

       The Presidential Records Act, 44 U.S.C. § 2201 et seq., establishes that the United States
owns records related to the President's official duties, whether or not the records were created or
stored on an official government server. The United States is entitled to recover property that
belongs to it, including official government records.

       We have been authorized to file a civil action against you in United States District Court
to pursue claims for the recovery of wrongfully withheld records. We intend to file the action on
or about June 21, 2022. But as is our practice in civil actions of this nature, we are willing to give
you an opportunity to resolve this matter without litigation by turning the wrongfully withheld
records over to NARA prior to June 21. In the meantime, you have a continuing obligation to
preserve electronic or hard copies of Presidential records in your possession, custody, or control.

        If you would like to discuss this matter, you or your legal representative should contact
Justin Sandberg, the Civil Division attorney assigned to this case, at justin.sandberg@usdoj.gov.




                                                          2   ElizZh J.
                                                              Deputy Director
                                                              Federal Programs Branch, Civil Division
